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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

   UNITED STATES OF AMERICA
   ex rel. PAULA C. LORONA and REID
   POTTER,

          Plaintiffs-Relators,
                                                    Case No. 3:15-cv-959-J-34JRK
   v.

   INFILAW CORPORATION, a Delaware
   Corporation, et al.,

          Defendants.
                                                /

                                     STATUS REPORT

          Pursuant to this Court’s August 3, 2018 Order, (Doc. 38), Relators Paula C.
   Lorona and Reid Potter, by and through undersigned counsel, hereby submit their
   Status Report regarding this matter.
          Counsel for Defendants Infilaw Corporation, Arizona Summit Law School,
   Florida Coastal School of Law, and Charlotte School of Law (the “Infilaw Defendants”)
   has agreed to waive service, and waivers of service were subsequently sent to the
   Infilaw Defendants’ counsel, David Mills of Cooley LLP. On August 10,
   2018, a summons was issued for Barbri, Inc. (“Barbri”). (Doc. 39). Barbri was
   served on August 16, 2018.



          RESPECTFULLY SUBMITTED this 17th day of August 2018.




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                                            -and-

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                                      Attorneys for Relator Paula C. Lorona only.




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                              CERTIFICATE OF SERVICE

          I hereby certify that on this 17th day of August 2018, a copy of the foregoing
   was e-filed with the Clerk, U.S. District Court.


                                             /s/ Jordan C. Wolff
                                             Jordan C. Wolff




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